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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:09CR3031
                                         )
             V.                          )
                                         )
MICHAEL KONING,                          )      MEMORANDUM AND ORDER
LOWELL BAISDEN,                          )
SUSAN BAISDEN-KONING,                    )
                                         )
                   Defendants.           )

       Defendant Michael Koning’s motion for disclosure of Rule 6(e)(3) materials,
(filing no. 26); motion for return and destruction of inadvertently disclosed
documents protected by the attorney client privilege, (filing no. 27), and motion to
compel disclosure of 404(b) evidence concerning Michael Koning, (filing no. 36), are
currently pending and fully submitted. For the reasons discussed below, defendant
Michael Koning’s motions filed pursuant to Rule 6(e)(3) of the Federal Rules of
Criminal Procedure and Rule 404(b) of the Federal Rules of Evidence will be denied.
A hearing will be set on the motion for return of documents purportedly protected by
the attorney client privilege.

                  Motion for Disclosure of Rule 6(e)(3) Materials
                                  (filing no. 26)

      Although the scope of the motion is not entirely clear, the court interprets
defendant Michael Koning’s motion to disclose Rule 6(e)(3) materials, (filing no. 26),
as requesting all information in the government’s possession, either at the U. S.
Department of Justice or at the Internal Revenue Service, concerning the federal
income tax liabilities, returns, or actions of defendants Michael Koning or Susan
Koning, or of Lowell Baisden in his capacity as a certified public accountant or tax
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preparer for any party, to the extent the government has disclosed such information
to “civil agents of the IRS, its attorneys, and civil attorneys involved in tax matters,”
(filing no. 26, ¶ 1), for the purpose of coordinating the handling or use of such
information in the parallel civil tax proceeding against defendant Braisden.

        The government has responded that “no such disclosures have been made of
grand jury information by the United States Attorney’s Office to any Department of
Justice civil attorney or agent of the Internal Revenue Service for use in a civil
proceeding involving Lowell Baisden.” Filing No. 41, pp. 3-4. “The government did
not disclose any grand jury material for use in a parallel proceeding,” (filing no. 41,
p. 5), and “has not disclosed, except to the extent required by Rule 16, any matters
which have occurred before the grand jury.” Filing No. 41, p. 4. Based on the
representations in the government’s brief, and the court’s interpretation of the motion
itself, the government has no information to disclose in response to defendant
Michael Koning’s motion to disclose grand jury materials. The motion will therefore
be denied.

              Motion to Compel Disclosure of Rule 404(b) Evidence
                               (filing no. 36)

     Defendant Michael Koning seeks an order compelling the government to
promptly:

      . . . Give pre-trial notice, under Rule 404(b) of the Federal Rules of
      Evidence, of its intention to introduce evidence alleging Defendant's
      commission of other crimes, wrongs, acts or misconduct, and

      . . . Provide Dr. Koning, within a reasonable time, a description of all
      such evidence, including names of witnesses, dates, summaries of
      expected testimony and any related documentary evidence.



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Filing No. 36, at CM/ECF p. 1. Defendant Michael Koning states he “does not know
of evidence of any kind about his past life that the government might claim
constitutes prior bad acts, but he wants to be sure nothing haunts him, unexpectedly,
at his trial.” Filing No. 36, ¶ 2. The government has “no objection to the disclosure
of 404(b) evidence,” (filing no. 42, at CM/ECF p. 2), but states the motion “should
be addressed with the Court at a pretrial conference once all pretrial motions have
been filed,” as part of setting “the appropriate trial schedule and deadlines for
disclosure of various pretrial matters.” Filing No. 42, at CM/ECF p. 4.

        Rule 404(b) of the Federal Rules of Evidence states that evidence of a criminal
defendant’s prior crimes, wrongs, or acts may be admissible to prove motive,
opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or
accident. However, Rule 404(b) requires only “reasonable notice in advance of trial”
for the admission of prior convictions and bad acts. The trial of this case has not yet
been set. The pretrial motion deadline is September 30, 2009, with the government’s
responses due on October 31, 2009. Although it may later be re-scheduled to
accommodate the court’s schedule, a status conference is currently set for November
16, 2009. In other words, this “unusual and complex”case, (filing no. 21, ¶ 6), is
still in the early stages.

       Citing Rule 404(b), the defendant requests the government to disclose “a
description of all such evidence, including names of witnesses, dates, summaries of
expected testimony and any related documentary evidence.” The defendant has not
cited any authority holding Rule 404(b) mandates disclosure to the extent requested
by the defendant. To the contrary,

      [T]he Rules of Evidence are not rules of discovery. The purpose of the
      Rule 404(b) notice provision, to prevent surprise during trial, does not
      support providing a defendant with materials which the Government
      possesses and plans to offer at trial. Instead, the Defendants need only
      receive sufficient notice “to apprise the defense of the general nature of

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      the evidence of extrinsic acts.” Fed.R.Evid. 404 (Notes of Senate
      Committee on the Judiciary on the 1991 Amendment). Nothing in the
      rule indicates that the defendant is entitled to receive documents or other
      evidence from which the Government derives the prior bad act evidence.
      The Government merely need provide the Defendants with information
      sufficient to indicate the general nature of the evidence.

U.S. v. Williams, 792 F.Supp. 1120, 1134 (S.D. Ind. 1992). Defendant Michael
Koning’s demand under Rule 404(b) “ for specific evidentiary detail including dates,
times, places and persons involved is wholly overbroad.” U.S. v. Alex, 791 F. Supp.
723, 728 (N.D.Ill. 1992).

       Further, although a district court may order the government to disclose its
witness list for trial, “criminal defendants have no right in noncapital cases to require
disclosure of the list of government witnesses under Fed.R.Crim.P. 16(a),” (U.S. v.
White, 750 F.2d 726, 728 (8th Cir. 1984)), and there is “no general constitutional
right to discovery in a criminal case. Weatherford v. Bursey, 429 U.S. 545, 559
(1977). Although Brady v. Maryland, 373 U.S. 83 (1963) requires the government
to disclose evidence favorable to the defendant upon request, “[i]t does not follow
from the prohibition against concealing evidence favorable to the accused that the
prosecution must reveal before trial the names of all witnesses who will testify
unfavorably.” Weatherford, 429 U.S. at 559.

       To the extent the defendant seeks discovery of the government’s evidence in
support of its Rule 404(b) showing, the defendant’s motion is denied. Since the
notice requirement of Rule 404(b) “is intended to reduce surprise and promote early
resolution on the issue of admissibility” at trial, (F.R.E. 404(b), Committee Note to
1991 Amendments), and the trial date for this case has not yet been set, the
government will not be ordered to disclose the general nature of its 404(b) evidence,
if any, at this time.



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           Motion for Return and Destruction of Inadvertently Disclosed
              Documents Protected by the Attorney Client Privilege
                                 (filing no. 27)

      Defendant Michael Koning has moved for order requiring the government to:

      a) withdraw as exhibits two letters exchanged between defendant Michael
      Koning and his attorney, Todd McWha;

      b) destroy any copies in the possession of the United States, and

      c) treat the McWha documents as if the attorney client privilege was not
      waived through any disclosure because such disclosure was inadvertent.

Filing No. 28, ¶ 16. Defendant Michael Koning’s supporting brief states it “is
unclear . . . how the two McWha documents came into the possession of the United
States,” (filing no. 28, ¶ 4), but the documents are undisputedly protected by the
attorney client privilege and must have been unintentionally and inadvertently
disclosed while the defendant was unrepresented. Filing No. 28.

      The government opposes the motion, arguing defendant Michael Koning has
waived the attorney client privilege, and has presented no sufficient basis for finding
inadvertent disclosure. The government further argues the conversations and
documents exchanged between McWha and Koning are not protected from disclosure
under the crime fraud exception to the attorney client privilege. Filing No. 43. The
crime-fraud exception removes the privilege from attorney-client communications
made in furtherance of contemplated or ongoing criminal or fraudulent conduct, the
purpose being to assure that the “‘seal of secrecy,’ . . . between lawyer and client does
not extend to communications ‘made for the purpose of getting advice for the
commission of a fraud’ or crime.” U.S. v. Zolin, 491 U.S. 554 (1989).




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       Defendant Michael Koning has the burden of proving the existence of the
privilege, (Hollins v. Powell, 773 F.2d 191, 196 (8th Cir. 1985), and that any waiver
by disclosure was inadvertent. See, e.g., F.C. Cycles Intern., Inc. v. Fila Sport,
S.p.A., 184 F.R.D. 64, 75 (D. Md. 1998) (holding “the defendant has failed to meet
its burden of demonstrating that the attorney client privilege . . . memorandum was
not voluntarily waived”); Edwards v. Whitaker, , 229 (M.D. Tenn. 1994) (“When a
producing party claims inadvertent disclosure, it has the burden of proving that the
disclosure was truly inadvertent and that the attorney/client privilege has not been
waived.”); Golden Valley Microwave Foods, Inc. v. Weaver Popcorn Co., Inc., 132
F.R.D. 204, 207 (N.D. Ind. 1990) (“When the producing party claims inadvertent
disclosure it has the burden of proving that the disclosure was truly inadvertent and
that the privilege has not been waived.”). To assert the crime fraud exception, the
government must make a prima facie showing that the communications at issue were
made in furtherance of a future crime or fraud. In re Green Grand Jury Proceedings,
492 F.3d 976 (8th Cir. 2007)(collecting cases). See also, Zolin, 491 U.S. at 563
(determining the type of evidence the court may consider).

      The issues of waiver, inadvertence, and the crime fraud exception require a
factual inquiry and an evidentiary hearing. However, the pretrial motion deadline has
not expired, and it is likely additional pretrial motions will be filed. In the interest of
conserving the time and resources of the court and counsel, once the pretrial motion
deadline has passed, the hearing on defendant Michael Koning’s motion to return
attorney client privileged documents will be scheduled along with the hearings on any
other pretrial motions filed.

      IT IS ORDERED:

      1)     Defendant Michael Koning’s motion for disclosure of Rule 6(e)(3)
             materials, (filing no. 26), is denied.



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    2)    Defendant Michael Koning’s motion to compel disclosure of 404(b)
          evidence, (filing no. 36), is denied.

    3)    A hearing will be scheduled on Defendant Michael Koning’s motion for
          return and destruction of inadvertently disclosed documents protected
          by the attorney client privilege, (filing no. 27), after the deadline for
          filing pretrial motions has expired and all such motions are filed.

    DATED this 11th day of September, 2009.

                                    BY THE COURT:

                                    Richard G. Kopf
                                    United States District Judge




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